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                    UNITED STATES DISTRICT COURT
           _______________ District of Minnesota _______________

Kelvin Lenar Lee,                                 JUDGMENT IN A CIVIL CASE

                     Plaintiff,

v.                                                Case No. 15-cv-4272 (WMW/HB)

Bryan Castle,
in his individual capacity as an officer of the
Minneapolis Police Department,

                     Defendant.


☒ Jury Verdict. This action came before the Court for a trial by jury. The issues have
  been tried and the jury has rendered its verdict for the Defendant.

☐ Decision by Court. This action came to trial or hearing before the Court. The issues
 have been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

The jury finds in favor of the Defendants. No damages were awarded.




Date: September 29, 2017                                  RICHARD D. SLETTEN, CLERK

s/Wilhelmina M. Wright                                     s/Terianne Bender
Wilhelmina M. Wright                                     (by) Terianne Bender
United States District Judge                             Deputy Clerk
